                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

UNITED STATES SECURITIES AND                         )
EXCHANGE COMMISSION,                                 )
                                                     )
                              Plaintiff,             )
                                                     )
                         v.                          )       No. 1:15-cv-00758-JMS-MJD
                                                     )
ITT EDUCATIONAL SERVICES, INC.,                      )
KEVIN M. MODANY,                                     )
DANIEL M. FITZPATRICK,                               )
                                                     )
                              Defendants.            )

                                            ORDER

       This matter comes before the Court on Plaintiff United States Securities and Exchange

Commission’s Motion Regarding Its Representation at the Parties’ Settlement Conference. [Dkt.

261.] The motion requests leave for Daniel Michael, Chief of the Division of Enforcement’s

Complex Financial Instruments Unit, to represent Plaintiff United Securities and Exchange

Commission (“SEC”) at the May 10, 2018 settlement conference in this matter. The Court has been

advised that only the SEC’s Commissioners have final settlement authority, and under current law

they cannot delegate final settlement authority to another representative. Accordingly, the Court

hereby GRANTS the motion. The SEC is authorized to be represented during the parties’ May 10,

2018 settlement conference by Daniel Michael, Chief of the Division of Enforcement’s Complex

Financial Instruments Unit, or a similarly authorized individual without “final settlement authority.”

       SO ORDERED.


       Dated: 9 APR 2018
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via email generated by the Court’s ECF system.
